12-47106-tjt   Doc 27   Filed 08/30/17   Entered 08/30/17 10:39:25   Page 1 of 13
12-47106-tjt   Doc 27   Filed 08/30/17   Entered 08/30/17 10:39:25   Page 2 of 13
12-47106-tjt   Doc 27   Filed 08/30/17   Entered 08/30/17 10:39:25   Page 3 of 13
12-47106-tjt   Doc 27   Filed 08/30/17   Entered 08/30/17 10:39:25   Page 4 of 13
12-47106-tjt   Doc 27   Filed 08/30/17   Entered 08/30/17 10:39:25   Page 5 of 13
12-47106-tjt   Doc 27   Filed 08/30/17   Entered 08/30/17 10:39:25   Page 6 of 13
12-47106-tjt   Doc 27   Filed 08/30/17   Entered 08/30/17 10:39:25   Page 7 of 13
12-47106-tjt   Doc 27   Filed 08/30/17   Entered 08/30/17 10:39:25   Page 8 of 13
12-47106-tjt   Doc 27   Filed 08/30/17   Entered 08/30/17 10:39:25   Page 9 of 13
12-47106-tjt   Doc 27   Filed 08/30/17   Entered 08/30/17 10:39:25   Page 10 of 13
12-47106-tjt   Doc 27   Filed 08/30/17   Entered 08/30/17 10:39:25   Page 11 of 13
12-47106-tjt   Doc 27   Filed 08/30/17   Entered 08/30/17 10:39:25   Page 12 of 13
12-47106-tjt   Doc 27   Filed 08/30/17   Entered 08/30/17 10:39:25   Page 13 of 13
